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NOT FOR PUBLICATION

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE
__________________________________
                                        :
ALBERTO HERNANDEZ,                      :
                                        :
                Plaintiff,              :
                                        :      Civil No. 19-06090 (RBK/KMW)
                v.                      :
                                        :      OPINION
CAESARS LICENSE COMPANY, LLC, :
entity, d/b/a, HARRAH’S RESORT          :
ATLANTIC CITY                           :
                                        :
                Defendants.             :
__________________________________ :

KUGLER, United States District Judge:

       This matter comes before the Court on Defendant Caesars License Company, LLC’s

Motion to Dismiss Pursuant to F.R.C.P. 12(b)(1) for Lack of Article III Standing/Subject Matter

Jurisdiction and F.R.C.P. 12(b)(6) for Failure to State a Claim upon Which Relief Can Be

Granted (Doc. No. 10). Plaintiff, an individual with disabilities, alleges that Defendant, a hotel

operator, maintains a website in violation of the Americans with Disabilities Act, Title III, 42

U.S.C. § 1281 et seq. (“ADA”). Defendant contends that Plaintiff lacks constitutional standing to

bring this suit. After fully evaluating the allegations in Plaintiff’s Amended Complaint, the Court

GRANTS Defendant’s Motion to Dismiss.

I.     BACKGROUND

       Plaintiff initiated this lawsuit on February 18, 2019 by filing a Complaint (Doc. No. 1)

alleging violations of 28 C.F.R. § 36.302(e)(1)(ii) and requesting declaratory and injunctive relief

as well as attorney’s fees. On May 22, 2019, Defendant filed their 12(b)(1) and 12(b)(6) Motion



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to Dismiss. (Doc. No. 10). Plaintiff responded by filing an Amended Complaint on May 29, 2019

(Doc. No. 11 (“FAC”)). Subsequently, Plaintiff filed his Opposition Brief (Doc. No. 12 (“Pl.

Brief”)) and Defendant filed a Reply (Doc. No. 15).1

    A. Allegations

        As alleged in the Amended Complaint, Plaintiff is a resident of Miami, Florida and a person

with disabilities. (FAC. at ⁋⁋ 1–2). Plaintiff’s leg was partially amputated after a car accident,

leaving him unable to walk without the use of assistance devices and often reliant on a wheelchair.

(Id. at ⁋⁋ 4–5, 14). As a result of his disability, Plaintiff can only visit facilities that have certain

accessible features, such as handicap parking spaces, properly sloped routes, grab bars in

restrooms, and wide doorways. (Id. at ⁋⁋ 6–15).

        Plaintiff is an activist advocating for places of public accommodation to fully comply with

the Americans with Disabilities Act, Title III, 42 U.S.C. § 1281 et seq. (“ADA”). (Id. at ⁋⁋ 16–

18). Specifically, Plaintiff tests the websites of hotels and motels to see if they comply with a

regulation enacted pursuant to the ADA, 28 C.F.R. § 36.302(e)(1)(ii). (Id.).

        Defendant operates Harrah’s Resort Atlantic City (“Harrah’s), a place of public

accommodation located in Atlantic County, New Jersey, and maintains a website for this property

at https://www.caesars.com/harrahs-ac/hotel (the “Website”). (Id. at ⁋⁋ 19, 27). The Website

provides information about the Harrah’s features to prospective guests. (Id. at ⁋⁋ 28). Plaintiff

tested the Website for ADA compliance by attempting to determine whether Harrah’s has

accessibility features to meet his disability needs based on the information on the Website. (Id. at

⁋⁋ 30). Plaintiff could not verify whether Harrah’s meets his accessibility needs because the



1
 For reasons that surpass the Court’s understanding, Plaintiff then filed another Opposition Brief
(Doc. No. 16), to which Defendant filed another Reply (Doc. No. 17). Nothing in these briefs
changes the Court’s conclusion that Plaintiff lacks standing.


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Website does not contain sufficient information about a number of the accessible features Plaintiff

requires. (Id. at ⁋ 31).

      B. Legal Background

         The ADA provides that “no individual shall be discriminated against on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns, leases (or

leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a). Hotels are places

of public accommodation within the meaning of the statute. 42 U.S.C. § 12181(7)(A). 28 C.F.R. §

36.302(e)(1), enacted pursuant to the ADA, regulates “reservations made by any means” at places

of public accommodation. Under this regulation, hotels must “[i]dentify and describe accessible

features in the hotels and guest rooms offered through its reservations service in enough detail to

reasonably permit individuals with disabilities to assess independently whether a given hotel or

guest room meets his or her accessibility needs.” 28 C.F.R. § 36.302(e)(1)(ii).

         Plaintiff alleges that the Website’s non-disclosure of information on certain accessibility

features prevents him from independently determining whether he could stay at Harrah’s. (FAC at

⁋⁋ 32–35). As such, Plaintiff asserts that the Website violates Section 36.302(e).

II.      LEGAL STANDARD

         A motion to dismiss under Fed. R. Civ. P. 12(b)(1) must be granted if the court lacks

subject-matter jurisdiction over a claim. In re Schering Plough Corp. Intron/Temodar Consumer

Class Action, 678 F.3d 235, 243 (3d Cir. 2012). On a motion under Rule 12(b)(1), it is the plaintiff

who bears the burden of establishing subject-matter jurisdiction. Gould Elec., Inc. v. United States,

220 F.3d 169, 178 (3d Cir. 2000). A district court may treat a party’s motion to dismiss for lack of

subject-matter jurisdiction under Rule 12(b)(1) as either a facial or factual challenge to the court’s




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jurisdiction. Gould Elecs., 220 F.3d at 176. On a facial attack, such as this one, “the court must

only consider the allegations of the complaint and documents referenced therein and attached

thereto, in the light most favorable to the plaintiff.” Id. (citing PBGC v. White, 998 F.2d 1192,

1196 (3d Cir. 1993)).2

III.      DISCUSSION

          The key issue before the Court is whether Plaintiff has sufficiently alleged a concrete injury

so as to have constitutional standing. The Court first turns to Plaintiff’s claim of injury and

concludes that it is not sufficiently concrete. Next, the Court addresses why this case differs from

others in which courts found testers to have constitutional standing.

       A. Concrete Injury

          The power of the federal judiciary to hear cases is limited to only those in which the

Plaintiff has constitutional standing. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). To have

constitutional standing, “[t]he plaintiff must have (1) suffered an injury in fact, (2) that is fairly

traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by a

favorable judicial decision.” Id. To survive a motion to dismiss, the complaint must “clearly allege

facts demonstrating each element.” Id. (internal quotation omitted).

          The first element, “injury in fact” requires the plaintiff to show “an invasion of a legally

protected interest which is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992) (internal

citations and quotations omitted). To be concrete, the injury must be “‘real,” and not “abstract.”




2
  Defendant also moves to dismiss Plaintiff’s Complaint under Rule 12(b)(6) for failure to state a
claim upon which relief may be granted, asserting that there is no private right of action under 28
C.F.R. § 36.302(e)(1). Because the Court concludes that Plaintiff lacks standing, it does not
address this issue.


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Spokeo, 136 S. Ct. at 1548. Consequently, “a bare procedural violation” of a statute or regulation

is insufficient to satisfy the injury-in-fact requirement. Id. at 1549; see also Mielo v. Steak ‘n Shake

Operations, Inc., 897 F.3d 467, 479 (3d Cir. 2018) (noting that a defendant’s failure to have an

ADA compliance policy is not enough by itself to establish concrete injury).

       However, “intangible injuries can nevertheless be concrete.” Id. The Court must consider

two factors when evaluating the concreteness of an intangible injury: (1) “whether an alleged

intangible harm has a close relationship to a harm that has traditionally been regarded as providing

a basis for a lawsuit in English or American courts,” and (2) whether Congress has “elevate[d] to

the status of legally cognizable injuries concrete, de facto injuries that were previously inadequate

in law.” Id. (internal quotations omitted).

       Before the Court can proceed with the two-step inquiry laid out above, it must find that

Plaintiff has actually alleged harm from Defendant’s conduct. Plaintiff argues that Defendant has

injured him by denying him the information he would need to independently determine if

Defendant can meet his accessibility needs, disadvantaging him as compared to people without

disabilities, who can independently determine whether they can stay at Harrah’s based on the

Website. (Pl. Brief at 7–8). This alleged injury is intangible both because it is a non-physical

informational injury, and because Plaintiff, as a tester, has no actual interest in staying at Harrah’s

regardless of whether he could independently determine that it meets his accessibility needs. (FAC

at ⁋ 16–18).

       “[I]ntangible informational injury cases fall into two general categories: first, cases

involving affirmative disclosures of legally protected information; and second, cases involving

‘unlawful denial of access to information subject to disclosure.’” Murray v. Lifetime Brands, Inc.,

Civil Action No. 16-5016, 2017 WL1837855, at *3 (D.N.J. May 5, 2017). This case falls into the




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second category, as Plaintiff alleges that Defendant fails to provide information it is required to by

regulation.

        The flagship opinion addressing this category of intangible injury is FEC v. Akins, 524

U.S. 11 (1998), and Plaintiff asserts that it is the “most analogous” case to his own, (Pl. Brief at

7). In Akins, a group of voters brought suit in order to challenge the Federal Election Commission’s

(“FEC”) determination that the American Israel Public Affairs Committee (“AIPAC”) was not a

“political committee” under 2 U.S.C. § 431(4). Id. at 13–14. If the FEC had ruled AIPAC a political

committee, AIPAC would have been required to comply with significant disclosure obligations.

Id. at 15. The Supreme Court found that the voters were injured and consequently had standing

because the non-disclosure impeded the voters’ ability to “evaluate candidates for public office.”

Id. at 21; see also Public Citizen v. U.S. Dep’t of Justice, 491 U.S. 440, 449 (1989) (finding injury

requirement satisfied where plaintiffs claimed that non-disclosure of judicial nominees’ names

limited their ability to “participate in the judicial selection process”).

        While Akins and Public Citizen confirm that non-disclosure of information can give rise to

an injury-in-fact, they also show that non-disclosure is not an injury in and of itself. Rather,

plaintiffs must show that an alleged non-disclosure actually harms them, as the plaintiffs in Akins

and Public Citizen showed harm to the exercise of their political rights.

        In this case, Defendant’s alleged non-disclosure of accessibility information could

conceivably harm a person with disabilities, provided that person was actually looking for a place

to stay in Atlantic City. See, e.g., Juscinska v. Paper Factory Hotel, LLC, 18-cv-8201 (ALC), 2019

WL 2343306 (S.D.N.Y. June 3, 2019) (denying motion to dismiss Section 36.302(e) claim where

plaintiff visited hotel website “[i]n an effort to plan an upcoming ‘stay-cation’”); Poschmann v.

Coral Reef of Key Biscayne Developers, Inc., Case No. 17-cv-14363-Middlebrooks, 2018 WL




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3387679, at *3 (S.D. Fla. May 23, 2018) (finding plaintiff had standing to bring Section 36.302(e)

claim where it was undisputed that plaintiff intended to return to defendant’s hotel’s website to “to

reserve a room at the Hotel or to test the Hotel’s Website reservation system for its compliance

with the ADA”). But Plaintiff is not such a person. He had no interest in staying at Harrah’s.

Rather, his sole interest in visiting the Website was to determine if it complied with the ADA,

(FAC at ⁋ 18), and there is no allegation that Defendant’s conduct impeded him in that quest.

Because Plaintiff cannot show harm stemming from Defendant’s non-disclosure, he cannot show

concrete injury.

    B. Tester Standing

       Plaintiff correctly points out that testers have demonstrated concrete injury in other cases.

See Havens Realty Corp. v. Coleman, 455 U.S. 363, 374 (1982) (finding African-American tester

had standing to sue under the Fair Housing Act when employees of apartment complex “told her

on four different occasions that apartment were not available . . . while informing white testers that

apartments were available”); Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1332–33 (11th

Cir. 2013) (finding tester with disabilities had standing to sue under the ADA when he encountered

“architectural barriers” while visiting a supermarket). No one contests that testers may have

standing to sue in certain circumstances. But these cases do not stand for the proposition that the

plaintiff’s motivations when interacting with the defendant are irrelevant to the injury-in-fact

inquiry.3 Rather, they are instances in which plaintiffs identified harm that did not depend on their

motivations.



3
  In Houston, the court did state that the “legal right created by §§ 12182(a) and 12182(b)(2)(A)(iv)
does not depend on the motive behind Plaintiff Houston’s attempt to enjoy the facilities of the
Presidente Supermarket.” 773 F.3d at 1332. But the legal right the court identified was the “right
to be free from discrimination on the basis of disability with respect to the full and equal enjoyment
of the facilities of the Presidente Supermarket.” Id. at 1332 (internal quotation omitted). As


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          In Houston, the plaintiff visited the defendant’s supermarket and encountered architectural

barriers. During his visit, he experienced the supermarket differently from how a tester without

disabilities would have experienced it, in a detrimental way. Similarly, in Havens Realty the

African American tester received misinformation about the availability of apartments while the

white testers received correct information. That is, in both cases the plaintiffs actually experienced

differential treatment based on a characteristic protected by statute.

          The same is not true in this case. A tester without disabilities would have encountered the

same difficulty in assessing the accessible features of Harrah’s. Without an allegation that he was

actually considering staying in Harrah’s or that his experience accessing information on the

Website was detrimentally different due to his disability, Plaintiff cannot demonstrate concrete

injury.

IV.       CONCLUSION

          For the foregoing reasons, Defendant’s Motion to Dismiss (Doc. No. 10) is GRANTED

and Plaintiff’s Amended Complaint (Doc. No. 11) is DISMISSED without prejudice pursuant to

Federal Rule of Civil Procedure 12(b)(1) for lack of subject-matter jurisdiction. An Order follows.



Dated: 10/04/2019                                              /s/ Robert B. Kugler
                                                               ROBERT B. KUGLER
                                                               United States District Judge




discussed below, given Plaintiff’s motivations, he was not denied full and equal enjoyment of the
Website. As such, this language in the Houston opinion is not actually in conflict with this Court’s
analysis.


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